               Case 3:19-cv-04241-JD Document 22 Filed 04/26/22 Page 1 of 2




 1    MICHAEL S. LIM (Va. Bar No. 76385)
      limm@sec.gov
 2    Attorney for Plaintiff
      SECURITIES AND EXCHANGE COMMISSION
 3    100 F St, NE
      Washington, D.C. 20549
 4    (202) 551-4659

 5
 6                                  UNITED STATES DISTRICT COURT

 7                                 NORTHERN DISTRICT OF CALIFORNIA
 8
                                                                       Case No. 3:19-cv-04241-JD
 9    SECURITIES AND EXCHANGE COMMISSION,
                                                                       ORDER REGARDING
10                                                                     SEC ADMINISTRATIVE
11                                                                     MOTION TO FILE
                      Plaintiff,                                       UNDER SEAL
12            vs.                                                      [RE: NOTICE OF
13                                                                     MOTION AND MOTION
                                                                       TO PAY FEES AND
14                                                                     EXPENSES OF
      FACEBOOK, INC.                                                   DISTRIBUTION AGENT,
15                                                                     AND AUTHORIZE THE
                      Defendant.                                       SEC TO APPROVE THE
16                                                                     PAYMENT OF FUTURE
                                                                       FEES AND EXPENSES]
17
18
19

20          Having reviewed Plaintiff SEC’s Administrative Motion to File Under Seal and the

21   Declaration of Brendan Manfreda in support thereof, the Court ORDERS that:

22          The following portions of Exhibit A of Plaintiff Securities and Exchange Commission’s

23   Motion and Memorandum of Law in Support of an Order to Pay Fees and Expenses of

24   Distribution Agent and Authorize the SEC to Approve the Payment of Future Fees and

25   Expenses (Dkt #16) are sealed because volume, rate, and fees would be available for any

26   competitor of RCB Fund Services, Inc. to see, and will directly impact and undermine RCB

27   Fund Services, Inc.’s ability to compete against the other fund administrators in

     SEC v. FACEBOOK, INC.                        1               SECURITIES AND EXCHANGE
                                                                  COMMISSION
                                                                  100 F ST, NE
                                                                  WASHINGTON, DC 20549
                                                                  (202) 551-4659
                   Case 3:19-cv-04241-JD Document 22 Filed 04/26/22 Page 2 of 2




1   bidding for future cases. In addition, there is banking information which is nonpublic personal

2   financial information.

3              .
     Exhibit A, Page Numbers         Description of Item to be Sealed      Reasoning

     2,3,4,5                         Volume, Rate, and Fees columns        Competitive disadvantage for RCB
                                                                           Fund Services, Inc.
     5                               Wire Information at bottom left       Personal financial information
                                     page
     6,7,8,9                         Volume, Rate, and Fees columns        Competitive disadvantage for RCB
                                                                           Fund Services, Inc.
     9                               Wire Information at bottom left       Personal financial information
                                     page
     11,12,13,14                     Volume, Rate, and Fees columns        Competitive disadvantage for RCB
                                                                           Fund Services, Inc.
     14                              Wire Information at bottom left       Personal financial information
                                     page
     16,17,18,19                     Volume, Rate, and Fees columns        Competitive disadvantage for RCB
                                                                           Fund Services, Inc.
     19                              Wire Information at bottom left       Personal financial information
                                     page
4

5              IT IS SO ORDERED.
6
7   Dated: ________________
            4/26/2022                             ____________________________________
8                                                                Hon. James Donato
9                                                     UNITED STATES DISTRICT JUDGE




    SEC v. FACEBOOK, INC.                         2                    SECURITIES AND EXCHANGE
                                                                       COMMISSION
                                                                       100 F ST, NE
                                                                       WASHINGTON, DC 20549
                                                                       (202) 551-4659
